                                                                                   DISTRICT OF OREGON
                                                                                       FILED
                                                                                        May 29, 2020
                                                                                Clerk, U.S. Bankruptcy Court



    Below is an order of the court.




                                                                _______________________________________
                                                                           DAVID W. HERCHER
                                                                          U.S. Bankruptcy Judge




                           UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF OREGON

  In re                                                Lead Case No. 19-32600-dwh7
                                                       (Jointly Administered with Case Nos.
  Wall to Wall Tile & Stone, LLC,                      19-32599-dwh7 and 19-32603-dwh7)
  Wall to Wall Tile & Stone – Oregon LLC,              ORDER COMPELLING PRODUCTION
  Wall to Wall Tile & Stone – Idaho LLC,               OF DOCUMENTS UNDER FRBP 2004

                          Debtors.                     (WELLS FARGO BANK)


                  Based on the Trustee’s Motion for FRBP 2004 Examination of Wells Fargo Bank
  N.A. (“Wells Fargo”) now, therefore, it is hereby

                  ORDERED that Wells Fargo shall produce for the Trustee the documents

  described in Exhibit A on or before June 12, 2020, or by another date if agreed to in writing by the
  Trustee and Wells Fargo.
                                                 ###
  Pursuant to LBR 9021-(b)(2)(B), this ex parte order has been lodged without circulation.
  Presented by:
  LEONARD LAW GROUP LLC
  By: /s/ Justin D. Leonard
      Justin D. Leonard, OSB 033736
         Direct: 971.634.0192 / Email: jleonard@LLG-LLC.com
  Counsel for Trustee Amy Mitchell

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         UNDER FRBP 2004 (Wells Fargo Bank)                                           1 SW Columbia, Ste. 1010
                                                                                        Portland, Oregon 97204
                                                                                               leonard-law.com
                        Case 19-32600-dwh7         Doc 393     Filed 05/29/20
                                          EXHIBIT A

    To the extent specified in writing by the Trustee or her counsel, the following documents
    shall be produced by Wells Fargo Bank N.A. on or before June 12, 2020 (or on another date
    as agreed in writing with the Trustee).

    The documents should be delivered to counsel for the Trustee: Justin D. Leonard at the
    offices of Leonard Law Group LLC (located at 1 SW Columbia, Suite 1010, Portland, OR
    97204) – preferably in electronic (PDF) form by email to jleonard@LLG-LLC.com


       1.     To the extent requested by the Trustee or her counsel, monthly statements from
              January 1, 2016 through present for all of the Debtors’ and their insiders’ accounts
              (including any bank accounts, investment accounts, loan accounts, and credit card
              accounts), together listed as follows:

                  §   Wall to Wall Tile & Stone, LLC
                  §   Wall to Wall Tile & Stone – Oregon LLC
                  §   Wall to Wall Tile & Stone – Idaho LLC
                  §   W2W Stone Holdings, LLC
                  §   Wall to Wall Install Corp.
                  §   Tyler G. Kruckenberg

       2.     To the extent requested by the Trustee or her counsel, documentation of any
              debit transactions (including copies, image copies, and records of transactions for
              all checks, online payments, wire transfers, debits, and other withdrawals) from
              the accounts described above, within the time period described above.

       3.     To the extent requested by the Trustee or her counsel, documentation of any
              deposit transactions (including copies, image copies, and record of transactions
              for all checks, counter credits, wire transfers, and other deposits, including
              deposit slips and deposited items) into the accounts described above, within the
              time period described above.

       4.     To the extent requested by the Trustee or her counsel, any applications for
              accounts (including for loans/credit) of the parties listed above, including financial
              statements, appraisals, and other supporting documents.




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